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                                  PRELIMINARY REPORT, EXHIBIT C

                        List of Related Cases for Sports and Entertainer Defendants

          Defendants Thomas Brady, Gisele Bündchen, Stephen Curry, Lawrence Gene David,

   Golden State Warriors, LLC, Udonis Haslem, William Trevor Lawrence, Shohei Ohtani, Kevin

   O’Leary, Shaquille O’Neal, David Ortiz, Naomi Osaka, and Solomid Corporation d/b/a Team

   Solomid, TSM, and/or TSM FTX, pursuant to the Court’s Order Setting Initial Trial Conference,

   ECF 7, hereby submit the following list of related cases:

      1. Cases transferred by the JPML

              a. Garrison v. Bankman-Fried et al., No. 1:22-cv-23753 (S.D. Fla.)

              b. Norris v. Brady, et al., No. 23-cv-20439 (S.D. Fla.)

              c. Podalsky, et al., v. Bankman-Fried, et al., No. 1:22-cv-23983 (S.D. Fla.)

              d. Lam v. Bankman-Fried, et al., No. 3:22-cv-07336 (N.D. Cal.)

              e. Hawkins v. Bankman-Fried et al., No. 3:22-cv-07620 (N.D. Cal.)

              f. Pierce v. Bankman-Fried, et al., No. 3:22-cv-07444 (N.D. Cal.)

              g. Papadakis, et al. v. Bankman-Fried, et al., No. 3:23-cv-00024 (N.D. Cal.)

              h. Jessup v. Bankman-Fried, et al., No. 3:22-cv-07666 (N.D. Cal.)

              i. Rabbitte v. Sequoia Capital Operations, LLC et al., No. 3:23-cv-00655-WHA
                 (N.D. Cal.)

              j. Girshovich v. Sequoia Capital Operations, LLC, 3:23-cv-00945-JCS (N.D. Cal.)

              k. Cabo et al v. Sequoia Capital Operations, LLC et al, Case No. 3:23-cv-02222
                 (N.D. Cal.)

              l. Imbert v. Bankman−Fried et al, Case No. 3:23-cv-02475 (N.D. Cal.)

      2. Cases opposing conditional transfer before the JPML

              a. Lucky D, et al. v. Prager Metis LLP, et al., No. 2:23-cv-00389-MCA (D.N.J.)




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      3. Cases that have been transferred into the MDL by the Court

            a. Siskind v. Sequoia Capital Operations LLC et al, No. 1:23-cv-22144-KMM (S.D.
               Fla.)

            b. Garrison et al v. Paffrath et al., No. 1:23-cv-21023-CMA (S.D. Fla.)

      4. Other related cases that may soon be transferred into the MDL

            a. O'Keefe v. Sequoia Cap. Operations, LLC et al., No. 1:23-cv-20700 (S.D. Fla.)

      5. Related cases that cannot be transferred into the MDL and may affect the MDL

            a. In re FTX Holding Ltd., No. 22-11068 (JTD) (Bankr. D. Del.)

            b. USA v. Bankman-Fried, No. 1:22-cr-00673-LAK (S.D.N.Y.)




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